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                                     ORDERED.


     Dated: May 16, 2019




                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                               FT. MYERS DIVISION
                               www.flmb.uscourts.gov

 IN RE:                                                       CASE NO.: 9:19-bk-03270-FMD
                                                                               CHAPTER 7
 James Anthony Brownlee,
       Debtor.
 _________________________________/

            ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY

       THIS CASE came on consideration without a hearing on Federal Home Loan Mortgage
Corporation, as trustee for Freddie Mac Seasoned Credit Risk Transfer Trust, Series 2017-2, as
owner of the Related Mortgage Loan’s (“Secured Creditor”) Motion for Relief from Stay (Docket
No. 9). No response has been filed in accordance with Local Rule 2002-4. Accordingly, it is:

       ORDERED:
   1. Secured Creditor’s Motion for Relief from Automatic Stay is GRANTED.
   2. The automatic stay imposed by 11 U.S.C. § 362 is terminated as to the Secured
       Creditor’s interest in the following property located at 217 Cornwall Ave, Trenton, New
       Jersey 08618 in Mercer County, New Jersey, and legally described as:


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   3. The Order Granting Relief from Stay is entered for the sole purpose of allowing Secured
       Creditor to exercise any and all in rem remedies against the property described above.
       Secured Creditor shall not seek an in personam judgment against Debtor(s).
   4. Secured Creditor is further granted relief in order to contact the Debtor(s) by telephone or
       written correspondence in order to discuss the possibility of a forbearance agreement,
       loan modification, refinance agreement or loan workout/loss mitigation agreement.
   5. Attorneys’ fees and costs up to the amount of $531.00 are hereby awarded for the
       prosecution of this Motion for Relief from Stay, but are not recoverable from the
       Debtor(s) or the Debtor(s)’ Bankruptcy estate.
                                               ###
Attorney, Christopher P. Salamone, is directed to serve a copy of this order on interested parties
and file a proof of service within 3 days of entry of the order.




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